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                                                                                          V.; J j i idC i' UO'.!'.";
                                                                                                           or/.
                  IN THE UNITED STATES DISTRICT COURT FOR
                        THE SOUTHERN DISTRICT OF GEORGIA                             /OiSHAV^fi £H|}: 17
                                   SAVANNAH DIVISION


UNITED STATES OF AMERICA


V.                                                        CASE NO. 4;17-cr-00278-l


Curel Taylor Reilly,
       Defendant.




                                         ORDER


       Defendant       Reilly      has       filed     a    "Consolidated            Motion         for

Status    of     Motion      for   Sentence        Reduction        Pursuant         to     Federal

Civil    Procedure       60(b)(6)        and      Motion     for    Leave       to    Supplement

Motion     for    Sentence         Reduction"          (Doc.       23).    The       Motion         for

Sentence Reduction for which she requests the status (Doc. 21)

was answered (denied) by the Court on April 1, 2019.                                         In the

instant    motion,       Defendant       again         seeks   a     reduction         under        the

"safety valve," this time relying on the First Step Act of 2018,

       Defendant is serving a 24-month custodial sentence imposed

by the Court on May 16, 2018, following Defendant's plea of
guilty      to        structuring        transactions              to     evade        reporting
requirement,       in       violation        of   31      U.S.C.    §     5324(a)(3).               The
imposed     sentence         was   a   downward           variance      from     the      advisory
guideline range of 30 to 37 months that the Court adopted at
sentencing.

        Section 402(b) of the First Step Act expands the category

of   individuals         eligible        for      relief       under      the     safety-valve

provisions       of    18    U.S.C.      §    3553(f),       which      are     referenced            in
U.S.S.G. § 2D1.1(b)(18) . Nonetheless, such relief still extends

only      to     defendants        convicted         of     offenses          involving           the
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Controlled Substances Act, not to those convicted of currency-

structuring       offenses,       like    Defendant.          Additionally,      even      if

such    relief    did   extend      to   such     offenses,     this    aspect of       the

First    Step    Act    is   not retroactively applicable               to     defendants

convicted    and    sentenced       prior to December 21,              2018.     The    Act

expressly       provides     that      changes    made   "shall     apply      only   to   a

conviction      entered      on   or   after     the   date   of   enactment     of    this

Act."


        Given the above, Defendant is not entitled to relief with

respect to the safety-valve provision of the First Step Act, and

her Motion is DENIED.

        SO ORDERED this ^ff^day of                                              2019.


                                    WILLIAM T. MOORE, JI
                                    JUDGE, U.S. DISTRICT COURT
